                                 UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF NORTH CAROLINA
                                       CHARLOTTE DIVISION
                                  DOCKET NO. 3:18-cv-00121-FDW
                              [BR Adversary Proceeding Case No. 17-03066]
    R. KEITH JOHNSON,                                       )
                                                            )
           Plaintiff,                                       )
                                                            )
    vs.                                                     )
                                                            )                            NOTICE
    JUSTICE HARRISON CAMPBELL,                              )
                                                            )
           Defendant.                                       )
                                                            )

          TAKE NOTICE that Docket Call for this Case is scheduled for Tuesday, May 1, 2018 at

9:00 AM in Courtroom #1-1 of the Charles R. Jonas Federal Building, 401 W. Trade Street,

Charlotte, N.C. 28202. Jury selection shall proceed docket call on May 1, 2018 or May 2, 2018.

Counsel should be prepared to proceed to trial at the first available mixed term of court

commencing after docket call.1 The Deputy Clerk shall serve by mail a copy of the instant Notice

on Defendant, who appears pro se, and Plaintiff shall also notify Defendant of this Notice.

          IT IS SO ORDERED.


                                                Signed: April 24, 2018




1
  The Court further reminds that parties that whenever a civil action scheduled for a jury trial is settled or otherwise
disposed of in advance of the actual trial, the Court may assess all jurors’ costs (including Marshal’s fees, mileage
reimbursement, and per diem fees) equally against the parties or otherwise may determine appropriate assessments,
unless the Clerk’s office is notified at least one (1) full business day prior to the date on which the action is scheduled
for trial or the parties establish good cause why the Court should not assess jury costs against them. (Doc. No. 2).



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